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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                     )      Case No: 1:15 CV 1046
                                              )
       Plaintiff                              )      JUDGE SOLOMON OLIVER, JR.
                                              )
       vs.                                    )
                                              )      RESPONSE OF DEFENDANT,
CITY OF CLEVELAND,                            )      CITY OF CLEVELAND, TO
                                              )      MONITOR’S NOTICE REGARDING
       Defendant                              )      BILLING DISPUTES


       Defendant, City of Cleveland, hereby responds to the Monitor’s Notice Regarding

Outstanding Billing Disputes From 2024 (ECF No. 580) (hereinafter, “Notice”).

I.     INTRODUCTION

       The Notice is more than a simple notice of a billing dispute that requires the Court’s

assistance under Paragraph 356 of the Settlement Agreement (ECF No. 413-1, Page ID 8654). It

is in fact a radical motion for extraordinary relief. It asks the Court to upend the parties’ recent

understandings and rewrite the Settlement Agreement itself. The Monitor has not provided a single

invoice for work done in the last six months and has not even provided a draft 2025 budget. And

yet, the Monitor has asked the Court to order the City to disburse over $2 million for future

projected work that has not yet been done or even identified. Such relief cannot be conferred by

way of a simple status conference, as suggested by the Notice. Indeed, Cleveland certainly would

file briefs in opposition if the motions made in the Notice were ever properly before the Court.

       First, the Notice asks the Court to veto the parties’ recent agreement on handling future

invoices. Cleveland has agreed to the timeline proposed by Mr. Geissler on behalf of the United

States at the December 16, 2024, status conference (see Transcript at p. 51, ECF No. 577, Page ID

13494). The Monitor asks the Court to override that agreement and impose a much more
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accelerated timeline. However, since the parties already agreed to a more efficient process than

the current practice, the parties’ agreed timeline should be adopted.

        Even more dramatic, the Notice asks the Court to order Cleveland to prepay the full

amount of the forthcoming and undisclosed Monitoring Team budget for 2025, which could

exceed $2 million. This would require the Court to modify the Settlement Agreement to impose a

new term, without either party having filed a motion to modify. The Court does not have the

authority to rewrite a settlement agreement, especially not in response to this Notice. There is no

support in case law or in other consent decree jurisdictions for the prepayment proposal, nor does

the Notice cite any precedent. Even if Plaintiff DOJ agreed to such a modification, prepayment

almost certainly would cause a budgetary crisis in the City and could financially weaken the very

public safety initiatives the Consent Decree is supposed to promote. Thus, this unprecedented idea

should be rejected.

       The ostensible subject of the Notice, “outstanding billing disputes from 2024,” is given

short shrift. The Court asked the parties to submit “three pages or something like that; not long-

winded” (Transcript at p. 45, ECF No. 577, Page ID 13488) explaining their positions on the billing

dispute, in the event they could not resolve their differences following the December 16, 2024,

status conference. However, the Notice makes no attempt to inform the parties or the Court “why

they think things should be resolved a particular way.” (Id.). Cleveland briefly explains its own

position on the pending billing dispute, below. 1 Cleveland also respectfully refers the Court to the

Declaration of Sterling Analytics (ECF No. 580-2, Page ID 13530) as proof that Cleveland’s

objections are reasonable and made in good faith.



1
        Consistent with the Court’s directive, Cleveland’s statement regarding the billing dispute
is approximately three pages (see section III.B., below), but the additional important issues raised
by the Monitor in the Notice require separate attention here.


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II.     RELEVANT BACKGROUND

        A.     The Monitor Has Not Provided Timely Invoices or a 2025 Budget

        Since June 2024, the Monitor has provided:

               •   No July 2024 Invoice

               •   No August 2024 Invoice

               •   No September 2024 Invoice

               •   No October 2024 Invoice

               •   No November 2024 Invoice

               •   No December 2024 Invoice

               •   No 2025 Proposed Budget.

        Even if all of these were submitted today, the lack of timely invoicing greatly impacts the

City’s ability to review and verify the claimed charges for work performed. Although the City

hopes that the Monitor will finally submit these invoices before a status conference, the six-month

delay works a hardship on the City’s fiscal process. Further, the lack of a 2025 budget creates

tremendous hardships for the City’s proper financial budget. The City cannot plan for its

disbursements if the Monitor does not provide a budget. The problem occurred in 2023 when the

Monitor did not provide a 2024 budget until the last week of December 2023. The City strongly

objected at the time, and yet, it has happened again.

        B.     Timeline for Handling Invoices

        Before and during both the December 16, 2024, status conference and the January 8, 2025,

meet-and-confer, the parties discussed the timeline for submitting and reviewing future invoices.

The City agreed to the timeline that Mr. Geissler on behalf of the United States proposed at the

December 16, 2024, status conference (see Transcript at p. 51, ECF No. 577, Page ID. 13494).



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However, the Monitor is asking for a significantly more accelerated timeline. (See Proposed

Order, ECF No. 580-6, Page ID 13573, noting that “DOJ has proposed and the City agrees” to a

certain timeline, which the Monitor wants to speed up). The Court should adopt the parties’ agreed

timeline, i.e., (1) invoices are due 30 days after the end of the month; (2) the parties have 21 days

to review and object; (3) the Monitor, City, and DOJ have 14 days to meet and confer; and (4) the

parties then have seven days to seek the Court’s assistance. 2

       C.      Newly Proposed Prepayment Obligation Of Millions Of Taxpayer Funds

       The idea of requiring Cleveland to prepay the Monitor’s 2025 invoices was never brought

up before January 17, 2025. The Monitor dropped this idea on the parties at 10:06 a.m. on January

17, 2025, requesting a response by 3:00 p.m. the same day or else the Monitor would go to the

Court directly to ask for this relief. Although Cleveland successfully obtained a five-day extension

of time to respond, the shock of this proposal has still not worn off. The Monitor is seeking nothing

less than modification of the Settlement Agreement to impose a potentially financially-ruinous

term that would work against the very same public safety goals that the Consent Decree was

designed to promote.

       The City’s permanent budget will not even be passed by City Council until April 1, 2025,

meaning the funds to satisfy the prepayment obligation would not even be available before then.

If this obligation were to be included in the budget on April 1, 2025, it is foreseeable that cuts

would need to be made to Public Safety in order to meet the obligation. Moreover, the City would

have to revise its internal policies and procedures in order to pay professionals up front for a whole

year’s worth of work based on the professional’s own estimate. This kind of retainer on steroids




2
       Please see contemporaneously-filed Motion to Adopt Plaintiff DOJ’s Proposed Timeline
for Handling Invoices and the Proposed Order attached to it.


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is not something that City government is equipped to handle—especially considering that the

Monitor did not even submit his anticipated budget on a timely basis. This idea cannot reasonably

be presented to the Court during a status conference.

       D.      Billing Dispute—Cleveland Has Paid 91% Of Invoiced Amounts

       On December 13, 2024, Cleveland paid $486,815.95, more than 90% of the invoiced

amount for 2024. 3 (Non-docket entry, Remark by Finance entered 12/13/2024). Cleveland

reserved certain objections, which it outlined in detail. (See Notice at Exhibit B.)

       On December 16, 2024, the Court conducted a Zoom status conference. Following the

conference, the Court ordered the parties to meet and confer about any disputed objections

identified by the Monitor as repeatedly made by Cleveland. (Minute Order, ECF No. 575.)

       E.      Cleveland Offered A Settlement Proposal To Resolve the Dispute; the Monitor
               Refused To Make a Counteroffer

       On January 8, 2025, the parties met in the Law Department conference room at City Hall

to discuss their positions as outlined in the exhibits to the Notice. Cleveland’s position statements

included a Declaration from Laura S. Johnson, Esq., CPCU, of Sterling Analytics, who has

testified as a billing expert in state and federal court. (ECF No. 580-2, Page ID 13530.) The

Declaration supports Cleveland’s objections as being reasonable under “generally accepted

standards of reasonableness and ethics.” (Id. at ¶ 11.)



3
        The invoices for which payment was made go through June 2024. As noted above, at the
time of this filing in January 2025, the Monitor still has not submitted invoices for any work after
June 2024. The long delay in submitting invoices, which should end soon with the unprecedented
delivery of at least six months of invoices at the same time, prejudices the City in its contractual
right to assess the reasonableness of charges, under Paragraph 356. At the very least, Plaintiff
DOJ and the Monitor should not be heard to complain about delays in payment for July through
December 2024 given the time needed for the City to review the invoices and ask any legitimate
questions about activities that took place many months ago. The Court has allowed the City 45
days to review these forthcoming invoices and possibly more time if needed. (Transcript at p. 52,
ECF No. 577, Page ID 13495.)


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         Despite expert testimony that its objections were reasonable, at the January 8, 2025, meet-

and-confer, Cleveland offered to save everyone time and just split the difference on the remaining

sum in dispute. The Monitor rejected this and did not counteroffer. (See Notice at p. 3 and Notice

at Exhibit C.) By way of explanation for not negotiating, the Monitor has previously asserted that

“we are going to defend our prerogatives” and “not going to allow [the Monitor] to be a piñata.”

(Transcript at p. 58, ECF No. 577, Page ID 13501.)

         Cleveland disagrees that it failed to address the Monitor’s “repetitive concerns” at the meet-

and-confer, i.e., the alleged “four buckets” of recurring objections. Cleveland also disagrees that

the billing dispute is at a “critical impasse.” Both during and after the meet-and-confer, Cleveland

made several offers to compromise the remaining sums in dispute. It remains willing to negotiate

prior to any status conference. However, no counteroffer has been made by the Monitor.

III.     LAW AND ANALYSIS

         A.      The Motions Made in the Notice are not Properly Before the Court

         The Notice, ostensibly filed to alert the Court to an ongoing billing dispute, in reality brings

three motions: (1) a motion to impose a timeline for paying invoices inconsistent with the parties’

agreement; (2) a motion for an order requiring Cleveland to prepay possibly $2 million in advance;

and (3) a motion for a status conference at which the other two motions presumably will be

decided. The requested relief is not available because the motions are not properly before the

Court.

                 1.      The Monitor’s Authority Under the Settlement Agreement

         Paragraph 351 of the Settlement Agreement, as amended (ECF No. 413-1), provides, in

pertinent part: “The Monitor will only have the duties, responsibilities, and authority conferred by

this Agreement.”




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       The Monitor’s responsibilities are identified under the sections that follow Paragraph 351,

e.g., Compliance Reviews, Biennial Community Survey, Outcome Measurements, etc. Nowhere

is the Monitor given the duty, responsibility, or authority to direct and control the timeline for

submission, review, and payment of the Monitor’s invoices. Paragraph 356 simply directs the

Monitor to attempt to cooperatively resolve disputes over the reasonableness of fees and costs with

the DOJ and City prior to seeking the assistance of the Court.

        Under the heading, Monitor Recommendations and Technical Assistance, in Paragraph

372, the Monitor is authorized to “make recommendations to the Parties” but only as to compliance

issues and the “underlying objectives” of the Agreement. Thus, invoicing timelines are not within

the authority of the Monitor. Nor is prepayment of invoices. There certainly is no provision

authorizing the Monitor to recommend a timeline inconsistent with the agreement of the parties,

or to write in new terms over those set forth in the Settlement Agreement. See 100Reporters LLC

v. United States Department of Justice, 316 F.Supp.3d 124, 148 (D. D.C. 2018) (quoting with

approval the conclusion that, in general, a monitor’s “primary responsibility is to assess and

monitor… compliance with the terms of the settlement agreement”).

       By way of example, on October 21, 2020, the Court entered an Order of Deposit setting

forth certain requirements for submission of the Monitor’s invoices. (ECF No. 332.) The Order

was explicitly made “[w]ith agreement from the Parties.” The Monitor at that time represented to

the Court that he had “the consent of the Parties” as to submission of a budget. Thus, the entire

basis for the October 21, 2020, Order of Deposit was the parties’ agreement. In contrast, the

current Monitor now is asking the Court to enter a new Order that contradicts the parties’

agreements.




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       If the proposed timeline of the parties were unreasonable, arguably the Monitor would be

entitled to complain. However, the timeline proposed by the Plaintiff and agreed to by the City is

eminently reasonable and, in fact, much more accelerated than the practice under the current

Monitor. Thus, the Court simply should enforce the parties’ recent agreement (see Transcript at

p. 51, ECF No. 577, Page ID. 13494), with the caveat that the Court has allowed Cleveland 45

days to review the outstanding 2024 invoices once they are presented (id. at p. 52).

       Similarly, if Cleveland had not been paying 90% and more of the invoiced amounts and

had not given reasonable explanations for its objections, the Monitor arguably might be justified

in seeking reassurance about future payments. However, there is no basis for any allegation that

Cleveland has not been paying its bills in good faith. (See Declaration of Sterling Analytics, ECF

No. 580-2, Page ID 13530.)

               2.     The Court’s Authority to Modify a Settlement Agreement

       Paragraph 398 of the Settlement Agreement, as amended (ECF No. 413-1), provides, in

pertinent part: “The City and DOJ may jointly agree to make changes, modifications, and

amendments to this Agreement, which will be effective if approved by the Court.” It is well-

settled that a “district court is not a party to the settlement, nor may it modify the terms of a

voluntary settlement agreement between parties.”        Harris v. Pennsylvania Department of

Corrections, No. 2:19-cv-00479, 2021 WL 5331457, *1 (W.D. Pa. Oct. 13, 2021).

       Thus, the Court cannot unilaterally change a settlement agreement without the parties’

consent. E.g., Heath v. DeCourcy, 992 F.2d 630, 634 (6th Cir. 1993) (in order to modify a consent

decree, the court must first identify “a defect or deficiency in its original decree which impedes

achieving its goal,” and the modification “must further the purpose of the consent decree, without

upsetting the basic agreement between the parties”); Gilstrap v. Sushinati LLC, 734 F.Supp.3d




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710, 721-22 (S.D. Ohio 2024) (federal courts are courts of limited jurisdiction and only have

judicial power over a real and substantial controversy between the parties); U.S. v. Grand Rapids,

Michigan, 166 F.Supp.2d 1213, 1228 (W.D. Mich. 2000) (“The Court has no authority to modify

the Consent Decree”).

          When the parties raise concerns about a Court-appointed Monitor exceeding their authority

under governing agreements, potential issues arise regarding federalism and separation of powers

concerns. LaShawn A. ex rel. Moore v. Fenty, 701 F.Supp.2d 84, 115 (D. D.C. 2010); see also

City of Almaty, Kazakhstan v. Ablyazov, No. 15-cv-5345, 2020 WL 2748280, *2 (S.D. N.Y. May

26, 2020) (“even assuming that the Monitor has the authority and standing to make this motion,

his request is still improper…[w]hat the monitor seeks is in effect a modification of the” underlying

order).

          In making these motions, the Monitor is exceeding his authority and asking the Court to

do the same. The Court should reject any attempts to undermine the agreements of the parties.

                 3.      The Monitor’s Demand that the City Must Deposit Millions of Dollars for
                         Work that the Monitor Has Not Yet Preformed Is Unreasonable

          In particular, the Monitor’s request that Cleveland be ordered to deposit with the Court’s

registry the budgeted amount for 2025 within 30 days (Notice at Exhibit F) is unprecedented and

would work a significant financial hardship to Cleveland, including the Department of Public

Safety, which takes a large share of Cleveland’s budget and has many pressing needs. It is

undisputed that there is no support in the Settlement Agreement for this proposal, and the Monitor

cites no other authority.

          In consent decree cities where a deposit is made up front, from which to draw invoiced

amounts, there is a provision in the settlement agreement to that effect. See, e.g., Baltimore (D.

Md. No. 1:17-cv-99, ECF No. 2-2, ¶ 449, requiring that $150,000 be kept on deposit as an interim



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payment); Newark (D. N.J. No. 2:16-cv-1731, ECF. No. 2-1, ¶ 208, requiring an initial deposit of

$200,000 and an evergreen fund of $100,000); Seattle (W.D. Wash. No. 2:12-cv-1282, ECF No.

3-1, ¶ 209, requiring maintenance of $100,000 on deposit). Some cities are required to set aside

funds for technical assistance if needed. See, e.g., New Orleans (E.D. La. No. 2:12-cv-1924, ECF

No. 2-1, ¶ 483). Thus, the obligation to prepay invoices is rooted in the contractual agreement,

which is absent here. It is notable that, even when these cities are required by their contractual

agreements and consent decrees to set aside funds, none are required to set aside a whole year’s

worth of the Monitor’s bills up front. And even those jurisdictions that require pre-payment of

some amount still allow for disputes over reasonableness. E.g., Baltimore, supra, at ¶ 451;

Newark, supra, at ¶ 209; Seattle, supra, at ¶ 210.

       The Monitor’s surprising request is inconsistent with City ordinances 4 and policies which

require payments to be made for work performed based on invoices presented. It also places the

Monitor in a special preferred position—above every community group and vendor in the City.

Finally, it will have a significant impact on budgeting for the other needs of the City. The Monitor

has not submitted invoices for work since June 2024. Nor has the Monitor provided a timely

budget. And yet the Monitor seeks a preferred position.



4
        E.g., Cleveland Codified Ordinances § 106, Contracts Certified (“No contract, agreement,
or other obligation, involving the expenditure of money, shall be entered into, nor shall any
ordinance, resolution, or order for the expenditure of money be passed by the Council, or be
authorized by any officer of the City, unless the Director of Finance first certifies to the Council
or to the proper officer, as the case may be, that the money required for such contract, agreement,
obligation, or expenditure, is in the Treasury, to the credit of the fund from which it is to be drawn,
and not appropriated for any other purpose, which certificate shall be filed and immediately
recorded. The sum so certified shall not thereafter be considered unappropriated until the City is
discharged from the contract, agreement or obligation”); § 108(a), Authorization of Contracts (“All
contracts involving any expenditure in excess of fifty thousand dollars ($50,000.00) shall first be
authorized and directed by ordinance of Council, provided that the Council may increase the
expenditure limit contained in this section above fifty thousand dollars ($50,000) by passage of an
ordinance receiving a two-thirds affirmative vote of the Council”).


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          In sum, the Monitor does not have the right to bring the motions included in the Notice

about billing disputes. Given that these motions are not properly before the Court, they should not

be heard, certainly not at a status conference. Even if the Monitor had the authority and standing

to bring such motions, Cleveland would be entitled to fully brief these issues and hear from the

Plaintiff DOJ about its position, on the record.       Modification of a consent decree is no small

matter, as the Court is aware. Accordingly, Cleveland asks that the Court reject these improper

motions from the Monitor without further consideration or discussion.

          B.     Cleveland’s Objections to the Monitor’s Invoices Are Reasonable

          Monitoring team invoices are held to the reasonableness standard, first and foremost under

Paragraph 356 of the Settlement Agreement, but also under guidelines promulgated by the DOJ.

See Barge, et al., Monitoring Law Enforcement Consent Decrees: An Introduction & Starter

Toolkit, supported by Bureau of Justice Assistance, U.S. Department of Justice, pp. 74 ff; Gupta

Memo (9/13/2021 Memorandum from the Attorney General regarding the use of monitors), pp. 4-

5. 5

          The Declaration from Laura S. Johnson, Esq., CPCU, of Sterling Analytics, who has

testified as a billing expert in state and federal court (ECF No. 580-2, Page ID 13530), is the only

evidence in the record about the reasonableness of Cleveland’s objections. The Declaration

establishes that Cleveland’s objections are indeed reasonable and in the normal course.

          Moreover, the City has pointed out that Cleveland officials have a legal duty to make

objections to the Monitor’s invoices when they appear unreasonable. Kleemann v. Carriage Trace,




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        United Cent. Bank v. Kanan Fashions, Inc., No. 10 CV 331, 2012 WL 1409245, at *3
(N.D. Ill. Apr. 23, 2012 (“Billing judgment requires counsel to ‘exclude from a fee request hours
that are excessive, redundant, or otherwise unnecessary, just as a lawyer in private practice
ethically is obligated to exclude such hours from his fee submission.’”) (citations omitted).


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Inc., 2007-Ohio-4209, ¶ 42 (2nd Dist.), citing State v. McKelvey (1967), 12 Ohio St.2d 92, 95, 232

N.E.2d 391 (“It is a well-worn, but no less true, statement of public policy that a public office is a

public trust and a public official is a fiduciary”) and State v. Gaul (1997), 117 Ohio App.3d 839,

850, 691 N.E .2d 760 (“a public officer, as a fiduciary with respect to public funds under such

officer’s control, is required to exercise the same degree of care, skill, and judgment with respect

to” financial decisions as a private fiduciary).

       Instead of responding with authority that Cleveland’s recurring objections are

unreasonable, the Monitor accuses Cleveland of disregarding the Court’s order to meet and confer

in good faith—even though the City has made several settlement offers without a counteroffer in

response. The Monitor does not support his position by way of citation to any case law, secondary

material such as ABA Opinions or law review articles, declarations, or any authority of any kind.

A review of the Exhibits to the Notice will show that the Monitor relies wholly on argument and

not at all on precedent, with respect to Cleveland’s billing objections.

       In brief, the Monitor’s “four buckets” of recurring objections are: (1) vague or lacks detail;

(2) duplicative; (3) not paralegal-level work; and (4) “billing for billing.” Cleveland maintains its

objections on these four bases, although there is room for compromise if only the Monitor would

engage the City on the merits.

       As to the first “bucket” of objections, it would be unreasonable for Cleveland to pay a

vague or non-descriptive charge that cannot be confirmed as related to the Settlement Agreement.

       Similarly, as to the second category, Cleveland cannot agree to pay charges that appear

duplicative, especially when the Monitor previously has conceded erroneous submission of

duplicative entries.




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        Regarding the third bucket, non-paralegal level work conducted by paralegals, Cleveland

is concerned that administrative costs appear to be the lion’s share of the monthly invoices, as

opposed to work by the subject matter experts. While this concern is unresolved, Cleveland better

understands the role of Ms. O’Brien as project manager following the meet-and-confer. Cleveland

therefore agreed to pay Ms. O’Brien’s time in the March through June 2024 invoices as part of a

global settlement offer. This offer was rejected by the Monitor as a so-called “Swiss cheese”

proposal.

        Finally, regarding the last category of objections, “billing for billing,” Cleveland

understands the role of Meg Olsen, the billing coordinator, but cannot agree under any

circumstances that it is reasonable for the Monitor and Ms. Wilhelm to charge thousands of dollars

for reviewing monthly invoices over and above any time billed by Ms. Olsen. This is a classic

“billing for billing” charge that is inconsistent with the general standard applicable to all

professional billing. 6

        The City objects to paying $750 per hour for the administrative work involved in billing.

Clevelanders do not understand paying extremely high hourly rates for work that should be done

by administrative staff at administrative rates. The individuals performing the work are not

receiving the $750 per hour that is being charged to Cleveland’s taxpayers. The excess is paid for



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        See Declaration of Sterling Analytics, supra, at ¶ 11; also see, e.g., E.g., Fuller v. Fiber
Glass Systems, LP, No. 4:07-CV-01120, 2009 WL 3067031, fn. 31 (E.D. Ark., Sept. 23, 2009)
(“billing for billing – especially at $250 per hour – is inappropriate”); D’Lil v. Best Western Encina
Lodge & Suites, No. CV 02-9506 DSF (VBKx), 2010 WL 11655476, *9 (C.D. Calif., April 13,
2010) (“no time should have been billed” for the recording of time); Att’y Grievance Comm’n of
Maryland v. Kreamer, 946 A.2d 500, 534 (Md. Ct. App. 2008) (“Clients hire attorneys to represent
them in legal matters and to solve their legal problems. Clients do not hire attorneys with the
expectation that they will be charged for the attorney’s time in preparing a bill for the services
rendered. Administrative tasks, like accounting services, are best left to the general services the
lawyer or his/her staff provides during the representation of the client”).


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overhead and should not billed separately from the underlying work. Ultimately, these high

charges for administrative work undermine public confidence in the Consent Decree.

       As stated in the Notice, the exhibits to the Notice set forth in detail Cleveland’s positions

on these four buckets of recurring objections.

       Further, Cleveland maintains its objections to lodging charges in excess of the agreed-upon

rate of $159 per night plus tax unless rooms at that rate are unavailable, as set forth in the Monitor’s

retention agreement and as stated on every monthly invoice; and its objections to expenses that are

not adequately documented, such as excess airfare.

IV.    CONCLUSION

       The Monitor’s Notice Regarding Outstanding Billing Disputes From 2024 (ECF No. 580)

brings motions that are not properly before the Court and should not be considered, especially not

at a status conference ostensibly about billing disputes. These motions would significantly rework

the agreements of the parties without any support in the case law, the Settlement Agreement, or

other consent decree jurisdictions. They should be rejected without further discussion.

       Regarding the billing disputes, Cleveland does not object to the Monitor’s motion for a

status conference but does not join in this motion. Cleveland would prefer to work cooperatively

to resolve the disputes, but the Monitor has refused to negotiate, accusing the Law Department of

bad faith.

       Given there is no reasonable dispute that Cleveland’s objections were brought in good

faith, as stated in the Declaration of Sterling Analytics, Cleveland respectfully submits that the

most appropriate action the Court could take at this juncture would be to disregard the Monitor’s

unfounded motions, instruct the parties to eschew personal invective of the type leveled at the Law




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Department, and order the Monitor to make a good faith counteroffer in response to Cleveland’s

most recent offer.


                                                   Respectfully submitted,

                                                   MARK D. GRIFFIN (0064141)
                                                   Director of Law

                                                   /s/ Timothy J. Puin
                                                   _____________________________
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                                                   Chief Assistant Director of Law
                                                   Tiffany C. Fischbach (0083348)
                                                   Chief Assistant Director of Law
                                                   Carlos K. Johnson Jr. (0097062)
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                                                   Attorneys for Defendant




                                CERTIFICATE OF SERVICE
       A copy of the foregoing response was sent via operation of the Court’s ECF system on the

date of filing to all parties of record, with a courtesy copy emailed to the Monitor,

karl.racine@hoganlovells.com.


                                                   /s/ Timothy J. Puin
                                                   _____________________________
                                                   Timothy J. Puin (0065120)
                                                   Assistant Director of Law



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